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                                        UNITED STATES DISTRICT COURT
                                               DISTRICT OF MARYLAND

              CHAMBERS OF                                                                  U.S. COURTHOUSE
          CATHERINE C. BLAKE                                                          101 WEST LOMBARD STREET
      UNITED STATES DISTRICT JUDGE                                                   BALTIMORE, MARYLAND 21201
                                                                                              (410) 962-3220
                                                                                            Fax (410) 962-6836


                                              September 10, 2021



MEMORANDUM TO COUNSEL

       Re:      United States v. Robert Hankard
                Criminal No. CCB-20-0017

Dear Counsel:

        This will confirm the results of our conference call this morning. At the defense request,
for good cause and to preserve continuity of counsel, the 5-day jury trial of this case has been
Postponed until February 14, 2022. The pretrial conference has been Postponed until January
21, 2022, at 9:00 a.m. in chambers. Any motions in limine, joint voir dire, and the government’s
proposed jury instructions are due at the pretrial conference. Copies also should be filed
electronically, and a copy of the voir dire and instructions should be provided to our chambers
email: MDD_CCBChambers@mdd.uscourts.gov in word form.

       Despite the informal nature of this ruling, it shall constitute an Order of Court,
and the Clerk is directed to docket it accordingly.

                                              Sincerely yours,


                                                      /S/

                                              Catherine C. Blake
                                              United States District Judge
